            Case 1:19-cv-01405-LAS Document 5 Filed 09/20/19 Page 1 of 1




           3Jn tbt Wnittb $)tatts Qtourt of $tbtral Qtlaitns
                                            No. 19-1405
                                     Filed: September 20, 2019

                                               )
 CARY A. ZOLMAN,                               )
                                               )
                        Plaintiff,             )
                                               )
 V.                                            )
                                               )
 THE UNITED STATES,                            )
                                               )
                        Defendant.             )
_ ______ ______ __                             )

                                             ORDER

        On September 12, 2019, plaintiff, proceeding prose, filed a complaint with this Court
seeking monetary relief, as well as a motion to proceed informa pauperis. Plaintiff, a Texas
resident, seeks $706,538.79 from the liens he alleges the Internal Revenue Service ("IRS")
improperly placed on his property. As the Court understands the claim, plaintiff has not paid any
money to the IRS, and the IRS placed the liens on plaintiffs property as a result of the unpaid
taxes.
        This Court's authority to hear cases is primarily defined by the Tucker Act, which grants
this Court subject matter jurisdiction over claims against the United States that are founded on a
money-mandating source of law and that do not sound in to1t. 28 U.S.C. § 1491(a)(l). Upon
sua sponte review, this Comt finds that plaintiffs allegations do not give rise to any cause of
action over which this Comt has subject-matter jurisdiction. A requisite element of this Court's
jurisdiction in tax refund cases is that the plaintiff seeking relief "must make full payment of the
tax, penalties, and interest at issue." Fry v. United States, 72 Fed. Cl. 500, 510 (2006). As far as
the Comt is aware, plaintiff has not paid any money to the IRS, let alone the full amount he
allegedly owes. Thus, the Comt has no authority to decide plaintiffs case and must dismiss the
complaint pursuant to Rule 12(h)(3) of the Rules of the Court of Federal Claims ("RCFC").

       As plaintiff submitted a valid in Jonna pauperis application, plaintiffs Motion to Proceed
In Forma Pauperis is hereby GRANTED. However, in consideration of the above, plaintiffs
Complaint is DISMISSED pursuant to RCFC 12(h)(3). The Clerk is hereby directed to take the
necessary steps to dismiss this case.

       IT IS SO ORDERED.
                                                          /4~ Loren A. Smith, Senior Judge
